                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                                   Civil Action No. 3:12-cv818



NEFERTITI JAMES,                                    )
                                                    )
                      Plaintiff,                    )
                                                    )
v.                                                  )
                                                    )
                                                    )
BANK OF AMERICA CORPORATION,                        )
                                                    )
                      Defendant.                    )
                                                    )

                      MEMORANDUM IN SUPPORT OF
             CONSENT MOTION TO SUBSTITUTE PROPER DEFENDANT

       Pursuant to Rule 21 of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”),

defendant Bank of America Corporation, by counsel, and with the consent of plaintiff, states as

follows in support of its Consent Motion to Substitute Proper Defendant:

       1.     Plaintiff filed suit against Bank of America Corporation on November 7, 2012, in

Mecklenburg County Superior Court. See Dkt. Entry 1.

       2.     Defendant Bank of America Corporation removed the Complaint to this Court on

December 11, 2012. Id.

       3.     In the Complaint, plaintiff alleges that she was employed by Bank of America

Corporation. Id. Plaintiff was employed by Bank of America, N.A.

       4.     Pursuant to Fed. R. Civ. P. 21, “[p]arties may be dropped or added by order of the

court on motion of any party.” Id.
       5.      The parties agree that this case should proceed as if the proper defendant had been

named and the case caption changed to reflect this correction and that Bank of America, N.A., be

named as the proper defendant. See Exhibit A.

       Based on the foregoing, defendant Bank of America Corporation requests, with the

consent of plaintiff, the Court to enter an Order granting its Consent Motion to Substitute Proper

Defendant, and grant such further relief as the Court deems just and proper.

       A proposed order is attached hereto as Exhibit B.

       This the 8th day of January 2013.

                                             Respectfully submitted,

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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                     Civil Action No. 3:12-cv-818



NEFERTITI JAMES,                                      )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )
                                                      )
                                                      )
BANK OF AMERICA CORPORATION,                          )
                                                      )
                       Defendant.                     )
                                                      )


                                    CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2013, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to the

following attorneys for plaintiff:


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                                               /s/ Meredith A. Pinson
                                               Attorney
